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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION


     PENGUIN RANDOM HOUSE LLC;
     HACHETTE BOOK GROUP, INC.;
     HARPERCOLLINS PUBLISHERS
     LLC; MACMILLAN PUBLISHING
     GROUP, LLC; SIMON &
     SCHUSTER, LLC; SOURCEBOOKS
     LLC; THE AUTHORS GUILD;
     JULIA ALVAREZ; JOHN GREEN;
     LAURIE HALSE ANDERSON;
     JODI PICOULT; ANGIE THOMAS;
     HEIDI KELLOGG; and JUDITH
     ANNE HAYES,

          Plaintiffs,

          v.                                Case No. 6:24-cv-1573-CEM-RMN

     BEN GIBSON; RYAN PETTY;
     ESTHER BYRD; GRAZIE P
     CHRISTIE; KELLY GARCIA;
     MARYLYNN MAGAR; TERESA
     JACOBS; ANGIE GALLO; MARIA
     SALAMANCA; ALICIA FARRANT;
     PAM GOULD; VICKI-ELAINE
     FELDER; KAREN CASTOR
     DENTEL; MELISSA BYRD; JAMIE
     HAYNES; ANITA BURNETTE;
     RUBEN COLON; CARL PERSIS;
     and JESSIE THOMPSON,

          Defendants.


                        REPORT AND RECOMMENDATION
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          This matter has been referred to me to conduct a preliminary

    pretrial conference. Dkt. 76. I held a preliminary pretrial conference with

    the parties in person on December 10, 2024 (“Conference”). Dkt. 90.

          At the Conference, the parties and I discussed the case and the

    parties’ representation that discovery is unnecessary. I reminded the

    parties that Plaintiffs have the burden of proving their standing and that

    they cannot rest on factual allegations in the complaint in the later stages

    of litigation. See, e.g., Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992).

    So the parties do need to conduct some discovery. The parties maintained

    that to the extent discovery is necessary on the issue of standing, it will

    be minimal in nature and will be completed by the requested deadline of

    February 4, 2025.

          Plaintiffs affirmed that their claims are facial challenges under the

    First Amendment and that there are no as-applied challenges in their

    claims. As such, the parties anticipate that the case will be decided on

    summary judgment as a matter of law, and no bench trial will be

    necessary. I cautioned the parties to read and closely follow our Local

    Rules and deadlines and explained the Standing Order on Discovery

    Motions (Dkt. 89). I pointed out that the proposed discovery deadline

    provides very little time to conduct discovery, especially if the parties have

    not already propounded written discovery. I also cautioned the parties

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    that all discovery and discovery disputes must be completed by the

    deadline proposed, regardless of the pending motion to dismiss. Lastly, I

    advised the parties that they could notify the Court after the Conference

    if they wished to propose changes to the case management deadlines

    based on our discussion.

          Based on my discussion with the parties, and their representations

    at the Conference, I recommend that the Court enter a Case Management

    and Scheduling Order that sets the deadlines indicated in the Amended

    Case Management Report (Dkt. 75). 1

                              NOTICE TO PARTIES

          “Within 14 days after being served with a copy of [a report and

    recommendation], a party may serve and file specific written objections to

    the proposed findings and recommendations.” Fed. R. Civ. P. 72(b)(2). “A

    party may respond to another party’s objections within 14 days after being

    served with a copy.” Id. A party’s failure to serve and file specific

    objections to the proposed findings and recommendations alters review by

    the district judge and the United States Court of Appeals for the Eleventh

    Circuit, including waiver of the right to challenge anything to which no




    1 If the parties have no objections, then they may file a notice to that effect.

    If they do so the Court may act without waiting for the expiration of the
    14-day objection period.
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    specific objection was made. See Fed. R. Civ. P. 72(b)(3); 28 U.S.C.

    § 636(b)(1)(B); 11th Cir. R. 3-1.

          ENTERED in Orlando, Florida, on December 12, 2024.




    Copies furnished to:

    Hon. Carlos E. Mendoza

    Counsel of Record




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